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                   In the United States Court of Federal Claims
                                      OFFICE OF SPECIAL MASTERS
                                               No. 09-179V
                                           (Not to be published)


*************************
                               *
DALIBOR HRADEK and             *
DEBBY HRADEK, parents          *
of F.H., a minor,              *
                               *
                  Petitioners, *
                               *                                          Filed: March 30, 2016
               v.              *
                               *                                          Autism; Decision on Attorneys’
SECRETARY OF HEALTH AND        *                                          Fees and Costs
HUMAN SERVICES                 *
                               *
                  Respondent.  *
                               *
*************************



                             DECISION (ATTORNEYS’ FEES AND COSTS)
       In this case under the National Vaccine Injury Compensation Program,1 I issued a
Decision on March 1, 2016. On March 29, 2016, Petitioners filed an Application for Attorneys’
Fees and Costs, requesting a total payment of $47,085.22, representing attorneys’ fees and costs
of $45,379.52, and $1,705.70 of costs expended by Petitioners. On March 29, 2016, Respondent
contacted a member of my staff by e-mail to confirm that Respondent has no objection to this
request.
        I find that this Petition was filed and pursued in good faith and with a reasonable basis.
Thus, an award for fees and costs is appropriate at this time, pursuant to 42 U.S.C. § 300aa-15(b)
and (e)(1). Further, the proposed amounts seem reasonable and appropriate. Accordingly, I
hereby award the following attorneys’ fees and costs pursuant to 42 U.S.C. § 300aa-15(b) and
(e)(1):
           •        a lump sum of $45,379.52, in the form of a check payable jointly to Petitioners
                    and Petitioners’ counsel, Edward Kraus, on account of services performed by
                    counsel’s law firm.


1
    The applicable statutory provisions defining the program are found at 42 U.S.C. § 300aa-10 et seq. (2012).
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         •        a lump sum of $1,705.70, in the form of a check payable to Petitioners,
                  which represents Petitioners’ own litigation expenses in this case.
       In the absence of a timely-filed motion for review filed pursuant to Appendix B of the
Rules of the U.S. Court of Federal Claims, the clerk of the court shall enter judgment in
accordance herewith.2

IT IS SO ORDERED
                                                                             /s/ George L. Hastings, Jr.
                                                                                 George L. Hastings, Jr.
                                                                                 Special Master




2
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice renouncing the
right to seek review.
